8 F.3d 818
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ida M. JACKSON, Plaintiff-Appellant,v.CHARLES COUNTY COMMUNITY COLLEGE, Defendant-Appellee.
    No. 93-1584.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  September 27, 1993.Decided:  October 13, 1993.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Walter E. Black, Jr., Chief District Judge.  (CA-91-1998-B)
      Ida M. Jackson, Appellant Pro Se.
      Gary Carlson Duvall, Miles &amp; Stockbridge, Towson, Maryland, for Appellee.
      D.Md.
      DISMISSED.
      Before RUSSELL and MURNAGHAN, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Ida M. Jackson noted this appeal outside the thirty-day appeal period established by Fed.  R. App.  P. 4(a)(1), failed to obtain an extension of the appeal period within the additional thirty-day period provided by Fed.  R. App.  P. 4(a)(5), and is not entitled to relief under Fed.  R. App.  P. 4(a)(6).  The time periods established by Fed.  R. App.  P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting  United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore grant the Appellee's motion to dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    